                Case 24-20835              Doc 1         Filed 09/03/24         Entered 09/03/24 14:18:52                     Page 1 of 39


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pro Tool & Design, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  45 Maselli Road
                                  Newington, CT 06111
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hartford                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 24-20835               Doc 1          Filed 09/03/24           Entered 09/03/24 14:18:52                         Page 2 of 39
Debtor    Pro Tool & Design, Inc.                                                                      Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3327

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known



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Debtor   Pro Tool & Design, Inc.                                                                   Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Pro Tool & Design, Inc.                                                                   Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       September 3, 2024
                                                  MM / DD / YYYY


                             X /s/ Michael Bosse                                                          Michael Bosse
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Anthony S. Novak                                                        Date    September 3, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Anthony S. Novak
                                 Printed name

                                 Novak Law Office, PC
                                 Firm name

                                 280 Adams Street
                                 Manchester, CT 06042
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (860) 432-7710                Email address      anthonysnovak@aol.com

                                 ct09074 CT
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           September 3, 2024                      X /s/ Michael Bosse
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Bosse
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            26,908.54

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            26,908.54


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $            49,950.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    3.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$           118,394.87


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $             168,347.87




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America #8567                                   Checking                                                                 $1,132.88




           3.2.     Thomaston Savings Bank #9202                            Checking                                                                     $67.50



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                 $1,200.38
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit with Maselli Rd Complex LLC                                                                                     $1,800.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           Pro Tool & Design, Inc.                                                            Case number (If known)
                  Name




           8.1.     Prepayment on Workman's Comp Insurance with The Hartford                                                                        $350.00



 9.        Total of Part 2.
                                                                                                                                              $2,150.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                                 5,130.00   -                                   0.00 = ....                   $5,130.00
                                              face amount                              doubtful or uncollectible accounts




           11b. Over 90 days old:                                    2,508.16   -                               580.00 =....                      $1,928.16
                                              face amount                              doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                              $7,058.16
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last               Net book value of         Valuation method used   Current value of
                                                     physical inventory             debtor's interest         for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           scrap metal                                                                             $0.00                                           Unknown



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.
                                                                                                                                                   $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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 Debtor         Pro Tool & Design, Inc.                                                       Case number (If known)
                Name

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           2 desks,       chairs, tables, cabinets                                          $0.00                                        $1,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           2005 NEC DS-100 phone system,
           2 computers,
           HP Design jet 220 plotter,
           copier/scan/fax machine                                                          $0.00                                          $500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $1,500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Pro Tool & Design, Inc.                                                      Case number (If known)
                Name

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            1991 Senaca Falls lathe, 1991 Horizontal band
            saw, 1991 Drill press motor, 1991 B & S 618
            Micromaster surf grinder, 1991 MAG chuck
            surface grinder, 1991 Opti-Dress and parts, 1991
            spindle repair, 1991 J & L 14" comparator (2),
            1991 Do all vertical saw, 1991 centron, 1992
            bridgeport vert mill, 1992 model #162 diam wheel
            dresser, 1992 Reid 618 Hyd surface grinder, 1992
            Mad compound sine chuck, 1992 vertical mill
            cincinnati, 1992 mag chuck, 1992 gind wheel
            adapter, 1992 O.S. Walker mag chuck, 1992 J &L
            Wheel adapters, 1993 B&S #13 chuck, 1994 B&S
            618 Surface grinder, 1994 sandblaster trinco,
            1994 compressor, 1994 O.S. Walker chuck 618
            ceramax perm, 1994 14" logan lathe with
            attachment, 1994 Cinn. vert milling machine, 1995
            Precision Int'l E model P.G. opti-dress machine,
            1995 B & S #13 tool grinder, 1995 J&L 14"
            comparator PC14A, 1997 Opti-dress, 1998 FX-10
            edm machine, 2000 Model 162 Wheel dresser
            all-five, 2001 B&S OD grinder (2), 2001 PC 4A
            comparator, 2005 FA-10SM Mitz EDM mach.,
            2005 TMS50 Thermal air dryer, 2006 B&S 6X18
            surface grinder, 2007 Harig 6x8 surface grinder,
            2006 Bridgeport vertical miller, 2007 Ashland
            machine, 2023 torit dust collector                                              $0.00                                 $15,000.00



 51.        Total of Part 8.
                                                                                                                               $15,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor         Pro Tool & Design, Inc.                                                       Case number (If known)
                Name

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer List with names and addresses                                          $0.00                                              $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                            $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            General Liability Insurance                                                                                                        $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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 Debtor         Pro Tool & Design, Inc.                                                      Case number (If known)
                Name



 78.       Total of Part 11.
                                                                                                                                       $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 6
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 Debtor          Pro Tool & Design, Inc.                                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                             $1,200.38

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $2,150.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                      $7,058.16

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $1,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $15,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $26,908.54           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $26,908.54




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 7
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Thomaston Savings Bank                        Describe debtor's property that is subject to a lien                    $49,950.00                $24,758.54
       Creditor's Name                               Bank of America #8567; Thomaston Savings
                                                     Bank #9202; Accounts Receivable as of July 18,
                                                     2024; Accounts Receivable as of July 18, 2024;
                                                     scrap metal; 2 desks, chairs, tables, cabinets;
                                                     2005 NEC DS-100 phone system, 2 computers,
                                                     HP Design jet 220 plotter,copier/scan/fax
                                                     machine; 1991 Senaca Falls lathe, 1991
                                                     Horizontal band saw, 1991 Drill press motor,
                                                     1991 B & S 618 Micromaster surf grinder, 1991
                                                     MAG chuck surface grinder, 1991 Opti-Dress
                                                     and parts, 1991 spindle repair, 1991 J & L 14"
                                                     comparator (2), 1991 Do all vertical saw, 1991
                                                     centron, 1992 bridgeport vert mill, 1992 model
                                                     #162 diam wheel dresser, 1992 Reid 618 Hyd
                                                     surface grinder, 1992 Mad compound sine
                                                     chuck, 1992 vertical mill cincinnati, 1992 mag
                                                     chuck, 1992 gind wheel adapter, 1992 O.S.
                                                     Walker mag chuck, 1992 J &L Wheel adapters,
                                                     1993 B&S #13 chuck, 1994 B&S 618 Surface
                                                     grinder, 1994 sandblaster trinco, 1994
                                                     compressor, 1994 O.S. Walker chuck 618
                                                     ceramax perm, 1994 14" logan lathe with
                                                     attachment, 1994 Cinn. vert milling machine,
                                                     1995 Precision Int'l E model P.G. opti-dress
                                                     machine, 1995 B & S #13 tool grinder, 1995 J&L
                                                     14" comparator PC14A, 1997 Opti-dress, 1998
                                                     FX-10 edm machine, 2000 Model 162 Wheel
                                                     dresser all-five, 2001 B&S OD grinder (2), 2001
                                                     PC 4A comparator, 2005 FA-10SM Mitz EDM
                                                     mach., 2005 TMS50 Thermal air dryer, 2006
                                                     B&S 6X18 surface grinder, 2007 Harig 6x8
       Attn: President                               surface grinder, 2006 Bridgeport vertical miller,
       P.O. Box 907                                  2007 Ashland machine, 2023 torit dust collector
       Thomaston, CT 06787
       Creditor's mailing address                    Describe the lien
                                                     UCC filing
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
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 Debtor       Pro Tool & Design, Inc.                                                                Case number (if known)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $49,950.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $1.00      $1.00
           CT Dept. of Revenue Services                              Check all that apply.
                                                                        Contingent
           C & E Division, Bankruptcy Unit
                                                                        Unliquidated
           450 Columbus Blvd Suite 1
                                                                        Disputed
           Hartford, CT 06103
           Date or dates debt was incurred                           Basis for the claim:
           2023
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $1.00      $1.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           Attn: Special Procedures
                                                                        Unliquidated
           135 High Street, Stop 155
                                                                        Disputed
           Hartford, CT 06103
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $1.00      $1.00
           Town of Newington CT                                      Check all that apply.
                                                                        Contingent
           Attn: Tax Collector
                                                                        Unliquidated
           200 Garfield Street
                                                                        Disputed
           Newington, CT 06111
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
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 Debtor       Pro Tool & Design, Inc.                                                                 Case number (if known)
              Name

          out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim


 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,297.14
          Accu-Grind Industrial Supply LLC
          Attn: President
                                                                                Contingent
          197 Delaware Avenue                                                   Unliquidated
          Waterbury, CT 06708                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,059.78
          Anthem Blue Cross Blue Shield
          Attn: President
                                                                                Contingent
          P.O. Box 11792                                                        Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $332.28
          Arthur R. Warner Co.
          Attn: President
                                                                                Contingent
          701 Depot Street                                                      Unliquidated
          Latrobe, PA 15650                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $365.85
          Chubb
          Attn: President
                                                                                Contingent
          P.O. Box 382001                                                       Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $37,348.55
          Citibusiness Card
          Attn: President
                                                                                Contingent
          P.O. Box 70166                                                        Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 4727                               Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $331.74
          Connecticut Natural Gas
          Attn: President
                                                                                Contingent
          P.O. Box 847820                                                       Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 3604                               Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $398.84
          Cox Business
          Attn: President
          P.O. Box 78000
                                                                                Contingent
          Dept. 781110                                                          Unliquidated
          Detroit, MI 48278                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 0801                               Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 6
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 Debtor       Pro Tool & Design, Inc.                                                                 Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,650.00
          CT Laser & Engraving LLC
          Attn: President
                                                                                Contingent
          63 N. Cherry St. Suite 3                                              Unliquidated
          Wallingford, CT 06492                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $274.36
          CWPM
          Attn: President
                                                                                Contingent
          P.O. Box 415                                                          Unliquidated
          Plainville, CT 06062                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 6001                               Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $165.43
          DGI Supply
          Attn: President
                                                                                Contingent
          100 Lakeview Parkway Unit 100                                         Unliquidated
          Vernon Hills, IL 60061                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 4989                               Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,986.31
          Eversource
          Attn: Bankruptcy or Legal Dept107 Selden
                                                                                Contingent
          Street                                                                Unliquidated
          Berlin, CT 06037                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 9004                               Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,051.16
          Griggs Steel Co.
          Attn: President
                                                                                Contingent
          P.O. Box 675382                                                       Unliquidated
          Detroit, MI 48267                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $141.61
          Hartford Courant
          Attn: President
                                                                                Contingent
          P.O. Box 569                                                          Unliquidated
          Hartford, CT 06141                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $53.52
          Hemly Tool Supply of CT LLC
          Attn: President
                                                                                Contingent
          11 Pane Road                                                          Unliquidated
          Newington, CT 06111                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 6
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 Debtor       Pro Tool & Design, Inc.                                                                 Case number (if known)
              Name

 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $2,000.00
           Maselli Road Complex LLC
           Attn: President
                                                                                Contingent
           638 Church Street                                                    Unliquidated
           Newington, CT 06111                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $35,604.48
           MDN Associates Inc.
           Attn: President
                                                                                Contingent
           18 Robindale Road                                                    Unliquidated
           Prospect, CT 06712                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $10,025.76
           Single Source Technologies
           Attn: President
                                                                                Contingent
           Dept. CH 16443                                                       Unliquidated
           Palatine, IL 60055                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number 3645                              Is the claim subject to offset?      No         Yes


 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $109.50
           Somma Tool Company Inc.
           Attn: President
                                                                                Contingent
           109 Scott Road                                                       Unliquidated
           Waterbury, CT 06705                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $5,000.00
           TD Bank
           Attn: President
                                                                                Contingent
           1133 Main Street                                                     Unliquidated
           Newington, CT 06111                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number 3799                              Is the claim subject to offset?      No         Yes


 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $176.34
           The Hartford
           Attn: President
                                                                                Contingent
           P.O. Box 660916                                                      Unliquidated
           Dallas, TX 75266                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number 2511                              Is the claim subject to offset?      No         Yes


 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $22.22
           UPS
           Attn: President
                                                                                Contingent
           P.O. Box 809488                                                      Unliquidated
           Chicago, IL 60680                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 6
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 Debtor       Pro Tool & Design, Inc.                                                              Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1      A.R.M. Solutions
          Attn: President                                                                         Line   3.13
          P.O. Box 3666
                                                                                                         Not listed. Explain
          Camarillo, CA 93011

 4.2      A.R.M. Solutions
          Attn: President                                                                         Line   3.13
          2455 Teller Rd, Suite 150
                                                                                                         Not listed. Explain
          Newbury Park, CA 91320

 4.3      Ann Thidemann Esq.
          Asst. U.S. Attorney                                                                     Line   2.2
          1000 Lafayette Blvd 10th Floor
                                                                                                         Not listed. Explain
          Bridgeport, CT 06604

 4.4      Christine Sciarrino Esq.
          Asst. U.S. Attorney                                                                     Line   2.2
          1000 Lafayette Blvd 10th Floor
                                                                                                         Not listed. Explain
          Bridgeport, CT 06604

 4.5      Citibusiness Card
          Attn: President                                                                         Line   3.5
          P.O. Box 183051
                                                                                                         Not listed. Explain
          Columbus, OH 43218

 4.6      Credit Control LLC
          Attn: President                                                                         Line   3.19
          3300 Rider Trail S. Suite 500
                                                                                                         Not listed. Explain
          Earth City, MO 63045

 4.7      Credit Control LLC
          Attn: President                                                                         Line   3.19
          P.O. Box 51790
                                                                                                         Not listed. Explain
          Livonia, MI 48151

 4.8      CT Dept. of Revenue Services
          Attn: Manager                                                                           Line   2.1
          P.O. Box 5089
                                                                                                         Not listed. Explain
          Hartford, CT 06102

 4.9      DoAll Company
          Attn: President                                                                         Line   3.10
          P.O. Box 200068
                                                                                                         Not listed. Explain
          Dallas, TX 75320

 4.10     Eversource
          Attn: President                                                                         Line   3.11
          P.O. Box 56002
                                                                                                         Not listed. Explain
          Boston, MA 02205

 4.11     Internal Revenue Service
          Centralized Insolvency Office                                                           Line   2.2
          P.O. Box 21126
                                                                                                         Not listed. Explain
          Philadelphia, PA 19114




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 6
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 Debtor       Pro Tool & Design, Inc.                                                            Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.12      Internal Revenue Service
           Centralized Insolvency Office                                                         Line     2.2
           P.O. Box 7346
                                                                                                        Not listed. Explain
           Philadelphia, PA 19101

 4.13      Radius Global Solutions LLC
           Attn: President                                                                       Line     3.19
           P.O. Box 390916
                                                                                                        Not listed. Explain
           Minneapolis, MN 55439


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          3.00
 5b. Total claims from Part 2                                                                       5b.    +     $                    118,394.87

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                      118,397.87




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.1     Michael Bosse                     23 Edgerton Street                               Internal Revenue                    D
                                               East Hampton, CT 06424                           Service                             E/F       2.2
                                                                                                                                    G



     2.2     Michael Bosse                     23 Edgerton Street                               CT Dept. of Revenue                 D
                                               East Hampton, CT 06424                           Services                            E/F       2.1
                                                                                                                                    G



     2.3     Michael Bosse                     23 Edgerton Street                               Town of Newington CT                D
                                               East Hampton, CT 06424                                                               E/F       2.3
                                                                                                                                    G



     2.4     Michael Bosse                     23 Edgerton Street                               Accu-Grind Industrial               D
                                               East Hampton, CT 06424                           Supply LLC                          E/F       3.1
                                                                                                                                    G



     2.5     Michael Bosse                     23 Edgerton Street                               Anthem Blue Cross                   D
                                               East Hampton, CT 06424                           Blue Shield                         E/F       3.2
                                                                                                                                    G



     2.6     Michael Bosse                     23 Edgerton Street                               Arthur R. Warner Co.                D
                                               East Hampton, CT 06424                                                               E/F       3.3
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 3
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 Debtor       Pro Tool & Design, Inc.                                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.7     Michael Bosse                     23 Edgerton Street                             Chubb                        D
                                               East Hampton, CT 06424                                                      E/F       3.4
                                                                                                                           G



     2.8     Michael Bosse                     23 Edgerton Street                             Citibusiness Card            D
                                               East Hampton, CT 06424                                                      E/F       3.5
                                                                                                                           G



     2.9     Michael Bosse                     23 Edgerton Street                             Connecticut Natural          D
                                               East Hampton, CT 06424                         Gas                          E/F       3.6
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             CT Laser & Engraving         D
    2.10                                       East Hampton, CT 06424                         LLC                          E/F       3.8
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             CWPM                         D
    2.11                                       East Hampton, CT 06424                                                      E/F       3.9
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             DGI Supply                   D
    2.12                                       East Hampton, CT 06424                                                      E/F       3.10
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             Eversource                   D
    2.13                                       East Hampton, CT 06424                                                      E/F       3.11
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             Hemly Tool Supply of         D
    2.14                                       East Hampton, CT 06424                         CT LLC                       E/F       3.14
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             The Hartford                 D
    2.15                                       East Hampton, CT 06424                                                      E/F       3.20
                                                                                                                           G



             Michael Bosse                     23 Edgerton Street                             TD Bank                      D
    2.16                                       East Hampton, CT 06424                                                      E/F       3.19
                                                                                                                           G




Official Form 206H                                                        Schedule H: Your Codebtors                                 Page 2 of 3
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 Debtor       Pro Tool & Design, Inc.                                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             Michael Bosse                     23 Edgerton Street                             Hartford Courant            D
    2.17                                       East Hampton, CT 06424                                                     E/F       3.13
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             Maselli Road Complex        D
    2.18                                       East Hampton, CT 06424                         LLC                         E/F       3.15
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             MDN Associates Inc.         D
    2.19                                       East Hampton, CT 06424                                                     E/F       3.16
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             Somma Tool Company          D
    2.20                                       East Hampton, CT 06424                         Inc.                        E/F       3.18
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             Cox Business                D
    2.21                                       East Hampton, CT 06424                                                     E/F       3.7
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             Griggs Steel Co.            D
    2.22                                       East Hampton, CT 06424                                                     E/F       3.12
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             UPS                         D
    2.23                                       East Hampton, CT 06424                                                     E/F       3.21
                                                                                                                          G



             Michael Bosse                     23 Edgerton Street                             Single Source               D
    2.24                                       East Hampton, CT 06424                         Technologies                E/F       3.17
                                                                                                                          G




Official Form 206H                                                        Schedule H: Your Codebtors                                Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Pro Tool & Design, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                     Gross revenue
       which may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                      exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                          $200,392.00
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                          $456,357.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                          $477,977.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue      Gross revenue from
                                                                                                                                      each source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1

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 Debtor       Pro Tool & Design, Inc.                                                                   Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.                                                                                                                           Secured debt
               Anthem BCBS                                                 4/24, 5/24,                        $9,089.52
               Attn: President                                             6/24                                                       Unsecured loan repayments
               P.O. Box 11792                                                                                                         Suppliers or vendors
                                                                                                                                      Services
               Newark, NJ 07101
                                                                                                                                      Other health insurance

       3.2.                                                                                                                           Secured debt
               Maselli Road Complex LLC                                    6,24, 7/24                       $10,000.00
               Attn: President                                                                                                        Unsecured loan repayments
               638 Church St                                                                                                          Suppliers or vendors
                                                                                                                                      Services
               Newington, CT 06111
                                                                                                                                      Other rent



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Michael Bose                                                2023 - 2024                      $26,950.00           loan repayment to officer
               23 Edgerton Street
               East Hampton, CT 06424
               office of company

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2

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 Debtor        Pro Tool & Design, Inc.                                                                     Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Novak Law Office P.C.
                 280 Adams Street
                 Manchester, CT 06042                                retainer and filing fee                                   7/25/2024               $3,338.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Michael Bosse



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3

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                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     230 Deming Road                                                                                           2001 - 7/31/2021
                 Berlin, CT 06037

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was              Last balance
               Address                                          account number            instrument                   closed, sold,             before closing or
                                                                                                                       moved, or                          transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents             Does debtor
                                                                     access to it                                                                 still have it?
                                                                     Address

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4

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 Debtor      Pro Tool & Design, Inc.                                                                    Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                  Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5

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 Debtor      Pro Tool & Design, Inc.                                                                    Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       D'Agostino & Mazzone LLC                                                                                                   2007 to present
                    Attn: Managing Partner
                    21 New Britain Avenue, Suite 110
                    Rocky Hill, CT 06067
       26a.2.       Michael Bosse                                                                                                              Inception to present
                    23 Edgerton Street
                    East Hampton, CT 06424
       26a.3.       Donna Nagle                                                                                                                Inception to present
                    3831 Grand Willow Circle
                    Southport, NC 28461

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       D'Agostino & Mazzone LLC
                    21 New Britain Avenue, Suite 110
                    Rocky Hill, CT 06067
       26c.2.       Mike Bosse
                    23 Edgerton Street
                    East Hampton, CT 06424
       26c.3.       Donna Nagle
                    3831 Grand Willow Circle
                    Southport, NC 28461

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6

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 Debtor      Pro Tool & Design, Inc.                                                                    Case number (if known)



       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michel Bosse                                  23 Edgerton Street                                   President                              100
                                                     East Hampton, CT 06424



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Michael Bosse
       .    23 Edgerton Street
               East Hampton, CT 06424                           47500.00                                                                   Wages

               Relationship to debtor
                President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          September 3, 2024

 /s/ Michael Bosse                                                      Michael Bosse
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                       District of Connecticut
 In re       Pro Tool & Design, Inc.                                                                                                               Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  3,000.00
             Prior to the filing of this statement I have received .......................................................                     $                  3,000.00
             Balance Due ...................................................................................................................   $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Reference is hereby made to the Bankruptcy Retainer Agreement dated July 23, 2024 for description of services and
               compensation to be paid.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               All services contemplated to be provided by the undersigned attorney shall be and are hereby limited to legal representation
               afforded the client in the United States Bankruptcy Courts, District of Connecticut pertaining to the Chapter 7 case described
               above. Under no circumstances shall this agreement be construed to impose a professional obligation or duty upon the
               attorney to represent the client in related or unrelated matters which matters are in the proper jurisdiction of the Superior
               Courts of the State of Connecticut.

                   Representation of the Debtor in an adversary proceeding and/or a contested matter including but not limited to motion
                   pursuant to sec. 522(f) and sec. 506 requires a separate attorney's fee to be paid on an hourly rate retainer basis, which is in
                   addition to the fee referenced in this Disclosure of Compensation of Attorney for Debtor. The undersigned attorney is not
                   responsible, nor obligated to in any way, to undertake representation of the Debtor in any adversary proceeding, unless
                   separately retained to do so.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     September 3, 2024                                                                                    /s/ Anthony S. Novak
     Date                                                                                                 Anthony S. Novak
                                                                                                          Signature of Attorney
                                                                                                          Novak Law Office, PC
                                                                                                          280 Adams Street
                                                                                                          Manchester, CT 06042
                                                                                                          (860) 432-7710 Fax: (860) 432-7724
                                                                                                          anthonysnovak@aol.com
                                                                                                          Name of law firm




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                                                             United States Bankruptcy Court
                                                                     District of Connecticut
 In re      Pro Tool & Design, Inc.                                                                   Case No.
                                                                                Debtor(s)             Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        September 3, 2024                                      /s/ Michael Bosse
                                                                     Michael Bosse/President
                                                                     Signer/Title




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                           A.R.M. Solutions
                           Attn: President
                           P.O. Box 3666
                           Camarillo, CA 93011


                           A.R.M. Solutions
                           Attn: President
                           2455 Teller Rd, Suite 150
                           Newbury Park, CA 91320


                           Accu-Grind Industrial Supply LLC
                           Attn: President
                           197 Delaware Avenue
                           Waterbury, CT 06708


                           Ann Thidemann Esq.
                           Asst. U.S. Attorney
                           1000 Lafayette Blvd 10th Floor
                           Bridgeport, CT 06604


                           Anthem Blue Cross Blue Shield
                           Attn: President
                           P.O. Box 11792
                           Newark, NJ 07101


                           Arthur R. Warner Co.
                           Attn: President
                           701 Depot Street
                           Latrobe, PA 15650


                           Christine Sciarrino Esq.
                           Asst. U.S. Attorney
                           1000 Lafayette Blvd 10th Floor
                           Bridgeport, CT 06604


                           Chubb
                           Attn: President
                           P.O. Box 382001
                           Pittsburgh, PA 15250


                           Citibusiness Card
                           Attn: President
                           P.O. Box 70166
                           Philadelphia, PA 19176


                           Citibusiness Card
                           Attn: President
                           P.O. Box 183051
                           Columbus, OH 43218
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                           Connecticut Natural Gas
                           Attn: President
                           P.O. Box 847820
                           Boston, MA 02284


                           Cox Business
                           Attn: President
                           P.O. Box 78000 Dept. 781110
                           Detroit, MI 48278


                           Cox Business
                           Attn: President
                           P.O. Box 1259
                           Oaks, PA 19456


                           Credit Control LLC
                           Attn: President
                           3300 Rider Trail S. Suite 500
                           Earth City, MO 63045


                           Credit Control LLC
                           Attn: President
                           P.O. Box 51790
                           Livonia, MI 48151


                           CT Dept. of Revenue Services
                           C & E Division, Bankruptcy Unit
                           450 Columbus Blvd Suite 1
                           Hartford, CT 06103


                           CT Dept. of Revenue Services
                           Attn: Manager
                           P.O. Box 5089
                           Hartford, CT 06102


                           CT Laser & Engraving LLC
                           Attn: President
                           63 N. Cherry St. Suite 3
                           Wallingford, CT 06492


                           CWPM
                           Attn: President
                           P.O. Box 415
                           Plainville, CT 06062


                           DGI Supply
                           Attn: President
                           100 Lakeview Parkway Unit 100
                           Vernon Hills, IL 60061
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                           DoAll Company
                           Attn: President
                           P.O. Box 200068
                           Dallas, TX 75320


                           Eversource
                           Attn: Bankruptcy or Legal Dept
                           107 Selden Street
                           Berlin, CT 06037


                           Eversource
                           Attn: President
                           P.O. Box 56002
                           Boston, MA 02205


                           Griggs Steel Co.
                           Attn: President
                           P.O. Box 675382
                           Detroit, MI 48267


                           Hartford Courant
                           Attn: President
                           P.O. Box 569
                           Hartford, CT 06141


                           Hemly Tool Supply of CT LLC
                           Attn: President
                           11 Pane Road
                           Newington, CT 06111


                           Internal Revenue Service
                           Attn: Special Procedures
                           135 High Street, Stop 155
                           Hartford, CT 06103


                           Internal Revenue Service
                           Centralized Insolvency Office
                           P.O. Box 21126
                           Philadelphia, PA 19114


                           Internal Revenue Service
                           Centralized Insolvency Office
                           P.O. Box 7346
                           Philadelphia, PA 19101


                           Maselli Road Complex LLC
                           Attn: President
                           638 Church Street
                           Newington, CT 06111
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                           MDN Associates Inc.
                           Attn: President
                           18 Robindale Road
                           Prospect, CT 06712


                           Michael Bosse
                           23 Edgerton Street
                           East Hampton, CT 06424


                           Radius Global Solutions LLC
                           Attn: President
                           P.O. Box 390916
                           Minneapolis, MN 55439


                           Single Source Technologies
                           Attn: President
                           Dept. CH 16443
                           Palatine, IL 60055


                           Somma Tool Company Inc.
                           Attn: President
                           109 Scott Road
                           Waterbury, CT 06705


                           TD Bank
                           Attn: President
                           1133 Main Street
                           Newington, CT 06111


                           The Hartford
                           Attn: President
                           P.O. Box 660916
                           Dallas, TX 75266


                           Thomaston Savings Bank
                           Attn: President
                           P.O. Box 907
                           Thomaston, CT 06787


                           Town of Newington CT
                           Attn: Tax Collector
                           200 Garfield Street
                           Newington, CT 06111


                           UPS
                           Attn: President
                           P.O. Box 809488
                           Chicago, IL 60680
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                                                                     United States Bankruptcy Court
                                                                            District of Connecticut
  In re      Pro Tool & Design, Inc.                                                                            Case No.
                                                                                       Debtor(s)                Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Pro Tool & Design, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  September 3, 2024                                                       /s/ Anthony S. Novak
 Date                                                                     Anthony S. Novak
                                                                          Signature of Attorney or Litigant
                                                                          Counsel for Pro Tool & Design, Inc.
                                                                          Novak Law Office, PC
                                                                          280 Adams Street
                                                                          Manchester, CT 06042
                                                                          (860) 432-7710 Fax:(860) 432-7724
                                                                          anthonysnovak@aol.com




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